Case 2:23-cv-02711-DWL   Document 117-4   Filed 12/23/24   Page 1 of 10




             EXHIBIT D
     Case 2:23-cv-02711-DWL                 Document 117-4               Filed 12/23/24              Page 2 of 10




Jonathon C. Glass                                                                          Privileged & Confidential
+1 202 776 2691                                                                                           Via Email
jglass@cooley.com



October 25, 2019

Lori K. Bowden
Government Information Specialist
Communications and Outreach
Federal Student Aid
830 First Street NE
Washington, DC 20202

Re: Notice to Submitter Response, FOIA No. 19-02048-F

Dear Ms. Bowden:

We represent Grand Canyon University (“GCU”) and write in response to your email dated October 11,
2019, regarding the above-referenced Freedom of Information Act (“FOIA”) request. Thank you for the
opportunity to respond.

GCU requests that select portions of the documents that the Department of Education intends to produce
as responsive to the FOIA request be treated as confidential business information that is exempt from
disclosure under Exemption 4 of FOIA. The proposed redactions highlighted in yellow are enclosed. We
have also included a table identifying which documents contain redactions, and which documents contain
no redactions. The bases for the specific applicable exemptions are described in detail herein.

Justification for Claims of Confidential Treatment

FOIA Exemption 4 protects “trade secrets and commercial or financial information obtained from a person
and privileged or confidential” from disclosure in response to a FOIA request. 5 U.S.C. § 552(b)(4). The
United States Supreme Court has issued a very recent opinion in Food Marketing Inst. v. Argus Leader
Media, dba Argus Leader, 139 S. Ct. 2356 (June 24, 2019) (“Argus”) that governs this issue. Argus holds
that for commercial or financial information to be considered “confidential” within the meaning of Exemption
4, the person imparting the information must at least have actually and customarily treated it as private. Id.
at 2363. Notably, in doing so, the Supreme Court overturned the D.C. Circuit’s decision in Nat’l Parks &
Conservation Ass’n v. Morton, 498 F.2d 765, 766 (D.C. Cir. 1974) (“National Parks”), which adopted a
standard requiring a showing of substantial competitive harm for purposes of Exemption 4.

“In the context of Exemption 4, the terms ‘commercial’ and ‘financial’ should be given their ordinary
meanings.” Id. (citing Pub. Citizen Health Res. Group v. FDA, 704 F.2d 1280, 1290 (D.C. Cir. 1983)). A
document is “commercial” and protected from disclosure by Exemption 4 “where the [submitting party] has
a ‘commercial interest’ in the information.” Id. (citing Pub. Citizen, 704 F.2d at 1290). Records that reveal
basic commercial operations and that reflect proprietary information about a company’s business plans and
strategies are properly withheld pursuant to Exemption 4. See Fox News Network, LLC v. U.S. Dep't of The
Treasury, 739 F. Supp. 2d 515, 571 (S.D.N.Y. 2010) (finding that an investment bank presentation was
properly withheld pursuant to FOIA Exemption 4 because it contained confidential and proprietary
information about business plans, and risk management strategies). Documents that detail a business’s
operations, contracts, and bids, are trade secrets and protected from FOIA disclosure. 100 Reporters LLC
v. U.S. Dep’t of Justice, 248 F. Supp. 3d 115, 136 (D.D.C. 2017). “The content of [FDA] applications may

                      Cooley LLP 1299 Pennsylvania Avenue, NW, Suite 700 Washington, DC 20004-2400
                                       t: (202) 842-7800 f: (202) 842-7899 cooley.com
        Case 2:23-cv-02711-DWL              Document 117-4               Filed 12/23/24              Page 3 of 10




Lori K. Bowden                                                                             Privileged & Confidential
October 25, 2019
Page Two

be withheld under Exemption 4 where it contains” specific information about safety and effectiveness goals
or information “obtained through preliminary trials, [information about] side effects and their magnitude, or
‘[product] manufacturing information or chemical composition and specifications.’” ViroPharma Inc. v. Dep’t
of Health & Human Servs., 839 F. Supp. 2d 184, 191 (D.D.C. 2012) (citing Appleton v. FDA, 451 F. Supp.
2d 129, 141 n.7 (D.D.C. 2006)). “Information that discusses or analyzes” the content of FDA applications
(such as strategies and goals) “is similarly properly withheld.” ViroPharma, 839 F. Supp. 2d at 191. In
addition, records that reflect sensitive financial information, such as pricing information, are exempt from
FOIA disclosure. See McDonnell Douglas Corp. v. U.S. Dep’t of the Air Force, 375 F.3d 1182, 1189 (D.C.
Cir. 2004).

The information we propose to be redacted fall into several categories, all of which are sensitive commercial
and/or financial information:

        Business Practices Unique to GCU: The redacted information describes confidential business
         and operational practices of GCU and its board of trustees that are unique to GCU and its
         operations.
        Key Negotiated Contract Terms: The redacted information includes contract terms that were
         negotiated with GCU’s service provider and reveal sensitive information about the financial
         relationships of GCU.
        Pricing and Payment for Services. The redacted information includes sensitive pricing
         information related to the payment of GCU’s service provider.
        Valuation and Appraisal Information: The redacted information includes highly confidential
         information related to the appraisal of certain GCU personal and real property and assets.

The redacted information is confidential. As discussed above, under the standard articulated in Argus, the
threshold question is whether GCU actually and customarily treats the information as private. GCU takes
substantial care to ensure that the information proposed to be redacted is kept confidential and not publicly
released. GCU is proposing the redactions to protect the information that it has declined to publicly release,
in order to protect its confidential business and trade secrets. In short, GCU goes to great lengths to protect
the information proposed for redaction, and does not provide this information to the public. In addition, GCU
takes great care in keeping unique business practices, contract terms, pricing information, and pricing
strategy confidential. Accordingly, GCU does not actually or customarily release the redacted information
to the public and it is therefore protected from disclosure by Exemption 4.

Conclusion

The information proposed for redaction is exempt from FOIA disclosure pursuant to Exemption 4. The
materials include “trade secrets and commercial or financial information” that is “confidential.” GCU
respectfully requests that the Department maintain the confidentiality of the redacted information and
decline to disclose it to any third party under the FOIA request that triggered your letter or otherwise.

If the Department disagrees with any of GCU’s proposed redactions, we expect that GCU will receive notice
through the undersigned so that it may seek protection through a court order.




                      Cooley LLP 1299 Pennsylvania Avenue, NW, Suite 700 Washington, DC 20004-2400
                                       t: (202) 842-7800 f: (202) 842-7899 cooley.com
     Case 2:23-cv-02711-DWL                 Document 117-4               Filed 12/23/24              Page 4 of 10




Lori K. Bowden                                                                             Privileged & Confidential
October 25, 2019
Page Three

Please do not hesitate to contact me if you have any questions or would like to discuss this matter further.
We appreciate your consideration and attention hereto.


Sincerely,




Jonathon C. Glass

Enclosures




                      Cooley LLP 1299 Pennsylvania Avenue, NW, Suite 700 Washington, DC 20004-2400
                                       t: (202) 842-7800 f: (202) 842-7899 cooley.com
         Case 2:23-cv-02711-DWL              Document 117-4   Filed 12/23/24   Page 5 of 10



                            Document Redaction Index
                    Document                           Includes Redactions (Y/N)
_Gazelle - Response to DOE re NFP Conversion
                                                                  Yes
15p.pdf
05.17.18. ED Request - Cariello and Glass - Request
                                                                  No
for information

2014_Form 990-N - filed 05.03.16 1p                               No

2015_Form 990-N - filed 07.11.16 1p                               No

2016_Form 990-N - filed 11.08.17 1p                               No

2018.08.29 - Gazelle Closing Index 4pp                            No

ACTIVE~2                                                          Yes

APA Disclosure Memo (Index of Confidential
                                                                  Yes
Schedules) 0829181 pp

BOD - Barclays Report 042618 42p                                  Yes

BOD December 6, 2017 2p                                           Yes

BOD December 16, 2017 2p                                          Yes

BOD February 21, 2018 2p                                          Yes

BOD Gazelle PPT Slides - Jan 25 2018 8p                           Yes

BOD Gazelle PPT Slides - Jul 27 2017 11p                          Yes

BOD Gazelle PPT Slides - Oct 26 2017 8p                           Yes

BOD January 25, 2018 11p                                          Yes

BOD July 27, 2017 3p                                              Yes

BOD May 12, 2017 1p                                               Yes

BOD November 21, 2017 2p                                          Yes

BOD October 26, 2017 3p                                           Yes

BOT Gazelle PPT Slides - Jan 24 2018 7p                           Yes

BOT Gazelle PPT Slides - Jul 26 2017 11p                          Yes

BOT Gazelle PPT Slides - Oct 25 2017 8pp                          Yes
         Case 2:23-cv-02711-DWL             Document 117-4   Filed 12/23/24   Page 6 of 10



BOT January 24, 2018 4p                                          Yes

BOT July 26, 2017 3p                                             Yes

BOT October 25, 2017 3p                                          Yes

Cover Letter - ED App Post-Closing 083118 4pp                    Yes

Doc A - Summary of Real and Personal Property
                                                                 Yes
Appraisals 3p
Doc B - Supplemental Memo re Deloitte Transfer
                                                                 No
Pricing Study 021618 1p
Doc C - Service Provider Survey Charts (Project
                                                                 No
Gazelle) 9p

Doc D - Barrington Research Associates-2U Inc 21p                No

Doc E - BMO Capital Markets-TWOU 44p                             No

Doc F - Robert W. Baird Co. Inc.-2U 51p                          No

Doc G - Gazelle - Preliminary Transfer Pricing
                                                                 Yes
Analysis 4p

Doc H - Wells Email with Gazelle Comps-Taxable 1p                Yes

Documentation for e-App 7.2.18 24p                               Yes

ED Post Closing Documents 7.10.18 48p                            No

Ed Tech Industry - Q4-17 Preview 1.25.18.doc 13p                 No

email K Peterson Conflict of Interest Correspondence
                                                                 No
1pp

Exhibit 2.1(b)-1 Personal Prop 053118 109 pp                     Yes

Exhibit A - HLC Letter to Grand Canyon University
                                                                 Yes
1.24.18 40p

Exhibit B - AZPPSE Approval Letter 042718                        No

Exhibit C - GCU 1023 Application 605pp                           Yes

Exhibit D - Gazelle University IRS Determination
                                                                 No
Letter 110915 2p
Exhibit E - GCU IRS Nonprofit Affirmation Letter
                                                                 No
083118 2p
Exhibit F - Maricopa County Property Tax Exemption
                                                                 No
Notice 072018 10p

Feb 16 Email Summary of Information 1p                           Yes

Final Purchase Price Adjustment Certificate 083018
                                                                 Yes
22pp
         Case 2:23-cv-02711-DWL               Document 117-4   Filed 12/23/24   Page 7 of 10


Foundation - First Amendment to Bylaws - April 2018 -
                                                                   No
fiscal year 1p

Gazelle - All Employee Slides January 5, 2018 86pp                 No

Gazelle - August 31 Submission Manifest 2pp                        No

Gazelle - First Amendment to Bylaws - April 2018 -
                                                                   No
ExecCom 1p

Gazelle - FOIA Justification Letter 3p                             No

Gazelle Comps - Taxable 1p                                         No

Gazelle December 6, 2017 1p                                        Yes

Gazelle December 15, 2017 2p                                       Yes

Gazelle II - Disclosure Schedules to APA (5-18-18)
                                                                   Yes
71pp Confidentially Provided

Gazelle July 26, 2017 2p                                           Yes

Gazelle May 12, 2017 1p                                            Yes

Gazelle November 21, 2017 2pp                                      Yes

Gazelle October 25, 2017 1p                                        Yes

Gazelle Transaction Structure 120717 1p                            No

Gazelle University - Conflict of Interest Policy - April
                                                                   No
2018 5pp
Gazelle University - TP Planning Report updated Draft
                                                                   Yes
March 5 2018 42p

Gazelle+GCUF Minutes 062818 6pp                                    Yes

GCE 6-30-18 Personal Property Valuation Z 1p                       Yes

GCE 6-30-18 Personal Property Valuation Z 288pp                    Yes

GCE Personal Property Valuation Report 6-30-18 pp
                                                                   Yes
21

GCU - Financial Statement (7-1-18) 19pp                            Yes

GCU - Letter to Management (7-1-18) 4pp                            Yes

GCU Employees with Compensation 134p                               Yes

Grand Canyon University Foundation - 2014 Form
                                                                   No
990EZ 16p
Grand Canyon University Foundation - 2015 Form
                                                                   No
990EZ 20p
         Case 2:23-cv-02711-DWL                Document 117-4   Filed 12/23/24   Page 8 of 10


Grand Canyon University Foundation - 2016 Form
                                                                    No
990EZ 22pp
JVI-Gazelle Phase 1 Personal Property Transmittal
                                                                    Yes
Letter 011918 7p
K Peterson Ltr to Pres Barbara GellmanDanley Re
                                                                    No
GCU Conflict of Int 2-19-18 14pp
Moodys Sector Comment Higher Education 021218
                                                                    No
7p

NFP Model 051818 2p Confidental                                     Yes

Project Gazelle - Asset Purchase Agreement 051818
                                                                    No
84pp

Project Gazelle - Credit Agreement 051818 68p                       No

Project Gazelle - Master Services Agreement 051818
                                                                    Yes
73p

Prsnl Propty VAL 103117 1p                                          Yes

RE Call with G&K + Wells Fargo and BAML on Thurs
                                                                    Yes
@ noon ET 10 am MST 2p

Re Gazelle - Preliminary Transfer Pricing Analysis 4pp              Yes

Real Property Valuation - GCE-Gazelle Phase 1
                                                                    Yes
011918 90pp

Request 12 1p                                                       Yes

Response to May 17 2018 DOE Letter (May 18 2018)
                                                                    Yes
5pp

Tab 1 - A. Asset Purchase Agreement 371pp                           Yes

Tab 4 - C. Facilities Services Agreement 7pp                        Yes

Tab 5 - D. Credit Agreement 87pp                                    No

Tab 6 - D. Note 2pp                                                 No

Tab 7 - D. Allonge 1 1p                                             No

Tab 8 - D. Allonge 2 1pp                                            No

Tab 9 - D. Security and Pledge Agreement 21pp                       No

Tab 10 - D. Compliance Certificate of Borrower 2pp                  No

Tab 11 - D. Officers Closing Certificate of Borrower
                                                                    No
2pp

Tab 12 - D. Secretarys Certificate of Borrower 28pp                 No

Tab 13 - A. Bill of Sale and Assignment 3pp                         No
         Case 2:23-cv-02711-DWL               Document 117-4   Filed 12/23/24   Page 9 of 10


Tab 14 - B. Assignment and Assumption Agreement
                                                                   No
4p
Tab 15 - Assignment and Assumption of Equity
                                                                   No
Interests 5p
Tab 16 - Change of Owner Form (Arizona Corporate
                                                                   No
Commission) 9pp

Tab 17 - D. HSR Waiting Period Early Termination 1p                No

Tab 18 - D. Higher Learning Commission 4p                          No

Tab 19 - D. AZ State Board for Private Postsecondary
                                                                   No
Education 1p
Tab 20 - E. LoudCloud Amendment No. 1 to Software
                                                                   No
License Agreem_698847 4pp
Tab 21 - E. Acknowledgement and Consent re Golf
                                                                   No
Course Operating_698848 3pp
Tab 22 - E. Assignment of Pono Construction
                                                                   No
Agreement 2pp

Tab 23 - E. Assignment of Sodexho Contract 2p                      No

Tab 24 - E. Colangelo Assignment (Employment at
                                                                   No
GCU) 3p
Tab 25 - E. Colangelo Assignment (Transfer of
                                                                   Yes
agreements) 2p

Tab 26 - E. Assignment of PRC Agreement 23p                        No

Tab 27 - F. Trademark Assignment 7p                                No

Tab 28 - G. Domain Name Assignment 7p                              No



Tab 29 - A. Secretarys Certificate of Seller 8p                    No



Tab 30 - B. FIRPTA Certificate 2p                                  No

Tab 35 - D. Seller Resignation Letter - Brian Roberts
                                                                   No
1pp
Tab 36 - E. Waiver of Potential Conflicts of Interests
                                                                   No
of Certai_698459_8p
Tab 37 - F. Seller Delaware Certificate of Good
                                                                   No
Standing 1p

Tab 38 - A. Secretarys Certificate of Buyer 4p                     No

Tab 39 - B. Grand Canyon University, Inc. Articles of
                                                                   No
Amendment3p
Tab 40 - B. Gazelle University Articles of Amendment
                                                                   No
1p

Tab 41 - B. Trade Name Assignment 1p                               No
         Case 2:23-cv-02711-DWL                Document 117-4   Filed 12/23/24   Page 10 of 10


Tab 45 - D. Buyer Resignation Letter - Will Gonzalez
                                                                     No
1p
Tab 46 - E. Buyers Delaware Good Standing
                                                                     No
Certificate 1
Tab 47 - A. Special Warranty Deed for Campus
                                                                     No
Property 38pp

Tab 48 - B. Deed of Trust (Credit Agreement) 57pp                    No

Tab 49 - C. Closing Statement Regarding Campus
                                                                     No
Property 4p
Tab 50 - D. Lenders Title Insurance Policy (Fidelity)
                                                                     No
119pp

Tab 51 - E. Owners Title Insurance (Fidelity) 118p                   No

Tab 52 - F. Affidavit of Property Value 47pp                         No

Tab 53 - G. Owners Affidavit 4p                                      No

Tab 54 - H. Escrow Instructions to Title Company 7pp                 No

Tab 55 - I. Special Warranty Deed (Halama-GCE) 3p                    No

Tab 56 - J. Termination of Fixture Lien 1p                           No

Tab 57 - A. Second Amendment to Credit Facility
                                                                     No
97pp
Tab 58 - B. Treasury Account Security and Control
                                                                     No
Agreement 9p
Tab 59 - C. Officers Certificate - BAML Amendment
                                                                     No
8p
Tab 60 - D. Deed of Release and Full Reconveyance
                                                                     No
(BofA 2012) 8p
Tab 61 - E. Deed of Release and Full Reconveyance
                                                                     No
(BofA 2016) 2p
Tab 62 - F. UCC-3 Termination Statement - La
                                                                     No
Sonrisa de Siena 1p
Tab 63 - G. UCC-3 Termination Statement - Tierra
                                                                     No
Vista 1p

Tab 64 - H. Trademark Release 3p                                     No
